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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 16-1240V
                                     Filed: March 17, 2017

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WILLIAM MOORE,               *
                             *    Notice of Voluntary Dismissal;
               Petitioner,   *    Vaccine Rule 21(a); No Judgment;
v.                           *    Order Concluding Proceedings
                             *
SECRETARY OF HEALTH          *
AND HUMAN SERVICES,          *
                             *
               Respondent.   *
                             *
****************************
                 ORDER CONCLUDING PROCEEDINGS1

Dorsey, Chief Special Master:

      On March 16, 2017, petitioner filed a Notice of Voluntary Dismissal pursuant to
Vaccine Rule 21(a) in the above-captioned case.

      Accordingly, pursuant to Vaccine Rule 21 (a), the above-captioned case is
hereby dismissed without prejudice. The Clerk of the Court is hereby instructed that
a judgment shall not enter in the instant case pursuant to Vaccine Rule 21(a).

        IT IS SO ORDERED.

                                                          s/Nora Beth Dorsey
                                                          Nora Beth Dorsey
                                                          Chief Special Master




1
  Because this unpublished Order contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
